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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF GEORGIA

 

MACON DIVISION
UNITED STATES OF AMERICA : CRIMINAL NO. 5:09-CR- {? - fe
v. '; VIOLATION; 18 U.S.C. § 2113(a)
MAURICE KEVIN HILL
THE GRAND JURY CHARGES:
COUNT ONE
(BANK ROBBERY)

On or about June 8, 2009, in the Macon Division of the Middle District of Georgia, and
elsewhere within the jurisdiction of this Court, the Defendant,
MAURICE KEVIN HILL,
by force, violence and intimidation did take from the presence of T.N. and C.M., whose identity is
known to the grand jury, approximately $17,438.00 in United States currency, in the care, custody,
control, management and possession of the Security Bank, located at 4699 Log Cabin Drive, Macon,
Georgia, the deposits of which were then insured by the Federal Deposit Insurance Corporation, in

violation of Title 18, United States Code, Section 2113 (a).
A TRUE BILL.

[S/
FOREPERSON OF THE GRAND JURY

PRESENTED BY: _

LAO

MICHAEL T. SOLIS
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this / 77 1

day of

 

 

 
